             EXHIBIT A

SENTENCING MEMORANDUM ON
 BEHALF OF CAMERON COLLINS



United States v. Christopher Collins, et al.
        No. SI 18-CR-567 (VSB)
                                        Mary Collins




November 15, 2019



Hon. Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY. 10007

Re: Cameron Collins

Dear Judge Broderick:

The two best days of my life are the days I gave birth to my daughter, Caitlin, and my son,
Cameron. I never knew how happy being a mother could make me. I know I am extremely
fortunate to have Caitlin and Cameron as my children.

Cameron was always a very curious child. He walked at six months, and proceeded to need
stiches on his face three times before he was a year old, from falls he encountered in his
excitement to explore the world.

Cameron was always very agile and flexible, so we let him try gymnastics when he was two
years old. He loved gymnastics and progressed rapidly as he trained at an ever-increasing
intensity. By 8‘*' grade he was training five days a week and was the New York State boys
gymnastics champion on vault. He also received his varsity letter in gymnastics at Clarence High
School when he was in    grade, having received an exemption from the school district to
compete at the high school level while he was still in middle school.

Cameron was always well behaved with an easy-going personality. He makes friends with
everyone he meets. He is also blessed to be extremely intelligent, especially in the world of
science and technology. He did well in school and was always building something in our
basement workshop.
When Cameron was in high school, he represented his school and participated in several
science competitions. He brought honor to Nichols High School when he won the physics
competition, the sumo-bot competition and the trebuchet catapult competition at local college
events. His designs were innovative and surprised the competition with unique features other
competitors had never considered.

It was no surprise to anyone when Cameron was accepted by Villanova to be educated as an
electrical and electronics engineer. He excelled in college and earned his BSEE degree in 2015.

Cameron is genuinely the nicest person there is. He befriends those who have no friends and
comes to the defense of anyone who is being bullied. As a natural leader, those around him
recognize and respect those admirable traits. It should be no surprise that he was elected
president of his class in school every year, from  grade through high school,

I can remember when he chose to go to Nichols High School where his sister attended.
Although he had too many friends to count in Clarence, he knew Nichols would provide a more
challenging education, especially in the sciences, where they offered engineering courses as
part of their high school curriculum. He was the new student at Nichols High School, where
over half the students had attended Nichols Middle School. Cameron had only been at Nichols
for two months when they held elections for class officers. Much to my surprise, Cameron
announced he would run for class president. As the new kid, I knew he had no chance to be
elected, but was very proud of his tenacity to at least throw his hat into the ring. I had all but
forgotten the election when it dawned on me a couple of months later, I had never asked him
how the election went. You can only imagine my shock when he casually replied, "I won, I'm
the class president."

His selfless regard for others, especially those children with disabilities, is part of Cameron's
DNA. Other students and teachers have always recognized that Cameron is a very special
human being. When he graduated from 4th grade, we attended the graduation and were
stunned when the principal announced to everyone present that they had created a special
award for a very special student. They called Cameron to the podium where he was presented
the CCC award for Courage, Commitment and Character. The principal went on to recount
numerous stories related to Cameron helping other children in need, when he thought no one
was noticing. The audience erupted with applause, and both Chris and I cried with emotion
that our special boy was being honored for being such a caring young man.

One young^^in our neighborhood^^^H was a very kind,|_____________________
Cameron acted a^ big brother to|[Hand helpec(||||||||||||||in very difficult social situations. He was
a true friend tomiand jlHadored him.
Because of Cameron's genuinely kind nature, he was always well liked and considered by many
of his friends to be their "best friend". I never saw him in a fight, ever! Coming from a family
with three older brothers, I saw a lot of fighting, I would ask Cameron how he was able to avoid
being in fights, and he told me that he always told the nasty kids to take a hike, and he kept
walking. He figured out at a very young age that it is better to be nice than to be mean.

Cameron was active in Boy Scouts from        grade through High School. Living his life by the
twelve points of the Scout Law came naturally to him. And the Scout Motto - Do a Good Turn
Daily - was and remains ingrained in him. As a natural over-achiever, Cameron was the
youngest Eagle Scout in New York State history, completing the requirements as a twelve-year-
old, in the 7*-'^ grade. He earned 67 merit badges, nine Eagle Palms, and held many leadership
positions in his troop. He always helped the younger scouts progress on their trail to Eagle.

During his twelve years in scouting, Cameron also earned the Ad Altaire Day Catholic award,
and attended five high adventure camps - two National Jamborees, a World Jamboree in
London, a white-water rafting adventure in Canada, and hiked Philmont with Chris and twelve
other scouts. He was the Senior Patrol Leader for the National Jamboree.

Cameron got engaged to Lauren Zarsky in the summer of 2017 with plans for a wedding in
2018. Needless to say, the wedding has been postponed until his future is known, and a
sentence has been decided by you.

As a mom, I admire and love my son unconditionally. The situation he is in now is devasting to
me. His remorse is genuine and he has been shaken to the core by his actions. He takes full
responsibility for what he did in selling stock that he knew he shouldn't have sold. That
decision will haunt him for the rest of his life. He has accepted that his future will always
include the word felon. That will affect his travel, work, and social interactions for the rest of
his life. All I can do is cry myself to sleep at night.

I am pleading with you. Judge Broderick, to be merciful in your sentencing decision, taking into
account Cameron's remorse, acceptance of his guilt, and his young age. I know he has a bright
future ahead of him, and will continue to make a positive difference in our troubled world. He
is committed to living the rest of his life in accordance with high moral standards to atone for
his one tragic error in judgement.

Thank you for letting me share insights into my son's soul. He is a good human being.



Sincerely,
                 //


Mary Collir
A Loving Mom
Hon, Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007


Subject: Cameron Collins

Dear Judge Broderick,

i have known Cameron Collins for twenty six years. We have been family friends since
Cameron was born which makes me well suited to speak to his character,
achievements, work ethic and why his criminal wrongdoings do not represent the
depth of his character.

Cameron has always been a strong student from a very young age, a very hard worker,
Eagle Scout and extremely committed to Gymnastics as a school student. Being a
male gymnast in a traditional town like Buffalo, New York is not an easy choice. But
Cameron made the most of his talents and pursued his passion for gymnastics at an
extremely high level. He made time for his commitment to Boy Scouts, made time to
excel in school and made time to be a devoted son to his parents and sister. He
excelled at Villanova University and secured a position after graduation, using his
strong education to contribute to his new employer. He loves fixing things, particularly
working on anything technical, likely an ode to his engineering degree. He builds
things in the garage the old fashioned way, with his hands and basic tools. Not
something most young men his age know how or want to do.

Cameron is stellar young man, but one who likely didn’t realize the magnitude of his
decision making that fateful day. He is a wonderful person who will continue to make a
positive impact on his community and his family. I believe the best is yet to come for
Cameron in regards to his ability to be a positive force for change in his community.

With deepest thanks and respect for the opportunity to provide you this information.

Theresa Jehle     ,,
Dear Judge Broderick,


My name is Dylan Shine,                                               in||||^^^^|||||||||||. I am
writing you to tell you about one of my closest friends, Cameron Collins, I have known Cameron
for almost my entire life; We first met during our first day of kindergarten at Ledgeview
Elementary, It’s somewhat hard for me to articulate our friendship in a single letter as 'we've
shared so many memories over the years. From building makeshift w'ooden forts in our
backyards, fishing at the neighborhood lake, playing games into the late hours of the night; The
list goes on as to the countless hours v^e’ve spent together,


Cameron has always been a loyal friend to me. For my bar mitzvah, he was my only friend to
give a speech. Despite being only 13 years old and Catholic raised, he still took the time to write
and deliver a speech in front of 150+ people at a Jewish synagogue.


Another memory that truly captures the character of Cameron was a gift he gave to me for my
10th birthday. To draw context, each Boy Scout troop holds an annual Pinewood derby. Each
scout is required to build a small pinewood car to race their fellow scouts to see whose car was
the fastest. At that years derby, my car came in dead last place. Cameron however, being the
meticulous engineer that he is, had built a car that ended up vanning first place. As a surprise
birthday gift, Cameron gave me his prized champion trophy and vowed to help me improve my
car for the follov/ing derby. That gesture alv>/ays stuck with me, and I still have the trophy to this
day.


I can assure you that Cameron is deeply remorseful for his actions and the position it has left his
family and friends. Cameron is a good person, and I believe his actions are made with good
intentions. During Cameron's sentencing, I hope you take into consideration the aforementioned
remarks. I as many others are pleading for your leniency when you ultimately make your
decision on the matter.


Sincerely,



Dylan Shine
                                         Margaret Saeli




                                       November 24, 2019




Hon. Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007


Subject: Cameron Collins


Dear Judge Broderick:


      I have known Cameron Collins for approximately 26 years, His mother and I met when
Cameron and my son Mike Agostinelli were infants.


        We became close friends and have maintained a close friendship since meeting in
Buffalo, New York in 1994. During that time our sons Cameron and Mike became very good
friends. Cameron and my son spent a tot of time together in our home. He was like another son
to me. My son became very close to the Collins family, and spent a lot of time in their home.


       I feel confident that I can vouch for Cameron's character, integrity, accomplishments
and achievements, and I hope that this isolated incident will not define Cameron's character as
an upstanding person in the community.


        As a young man Cameron was always driven to be a hard worker, whether it was in
school, on the gymnastics team, on the field in soccer or becoming an Eagle Scout in high
school. I was witness to all these endeavors throughout Cameron's childhood.


       Cameron was always an excellent student. He went on to graduate from Villanova
University and pursued a career in Engineering. Cattteron is a wonderful young man with many
devoted friends. He is kind and empathetic, and is extremely close to his family. Cameron is an
amazing young man who made an error in judgment, but that does not tell the full story of who
Cameron is.


         respectfully request that you consider this in determining Cameron's sentence.
December 5, 2019


Dear Judge Broderick,

I write to you in support of Cameron Collins. My son is a close
childhood friend of Cameron's and I've known him since infancy.
Although I realize that Cameron has pleaded guilty 1 hope you
consider the content of this letter in your sentencing.

As a child Cameron was energetic, inquisitive, and very bright. In high
school he had particular knack in science and engineering and became
the class president. He was athletic, being competitive in gymnastics,
soccer, and lacrosse. He loved outdoors and was very active in Boy
Scouts where he became the youngest Eagle Scout ever in Erie County.
He was an exemplary scout and reliably followed the "Scout Law." He
was very popular but he went out of his way to include those less
fortunate into his circle of friends.

Cameron loved his father and they spent a lot of time together
particularly with the Boy Scouts. He respected his father's keen
business sense and would no doubt follow his instructions.

We all know the mistake Cameron has made, but I can assure you it's
out of character and he’s very remorseful. Cameron has so much life
ahead of him, and I hope you consider this in your sentencing.




Respectfully,
                                                                       Philip M Corwin




                                                                       October 16, 2019


Hon, Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007


Dear Judge Broderick,


Cameron Collins was a friend of my daughters, her classmate, a neighbor and the son of my good friends
Chris and Mary Collins.

Cameron was at my house on many occasions growing up in Clarence, New York. He was in the same
grade as my daughter Kellie. They both went to the Clarence Public schools and later both attended
Nichols School in Buffalo for High School,

Cameron was your typical kid. He was polite and was at our house frequently during High School with
my daughter and other kids from the neighborhood.

Cameron was an Eagle Scout, something that always impressed me. We spent time with the Collins
family skiing in the winter about an hour south of Clarence and saw each other at neighborhood parties.

Cameron went to Villanova and

It has been eight years since my daughter and Cameron graduated High School, so 1 have not seen
Cameron in recent years. He was a very nice young man growing up and whatever has occurred has to
be an aberration on Cameron's part.

Thank you for considering my letter.




Philip M. Corwin
                                                                                             November 8, 2019



The Honorable Vernon S. Broderick
United States District Judge
United States District Court Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square New York, New York 10007

Dear Judge Broderick,

This letter is in strong support of the character and potential of Cameron Collins, a young man I have known well for 8
years. It is also a letter meant to illustrate the steadfastness of a friend, and an individual with a gentle and kind nature,
a bright intellect, and strong sense of loyalty.

I met Cameron, whom we call Cam, when he and our son Trey started as freshman at Villanova University. They
became roommates their sophomore year, and have remained close friends since graduating. Among other
commonalities. Cam and Trey's joint passion for science, engineering, creating, designing and building things brought
them together. I recall various stories that Trey would share about the mechanical and electrical creations Cam would
design and build outside of his engineering curriculum. Two that stand out were a robotic beverage dispenser and a
security camera that notified them of anyone who stopped by their dorm when they were away. Both were impressive
gadgets given it was prior to the days of Ring Door bells. Beyond his passion, talent, and creativity as an electrical and
mechanical engineer. Cam has always been a courteous and soft-spoken, dependable young man, among his peers and
also with adults. Above all. Cam is a good person, with a great heart.

Both my husband and myself feel Cam is the kind of person who looks for the best in others and is a source of support
to his friends. Compassion and inclusion are guiding principles and a part of his nature. An example that comes to mind
occurred during a particular college weekend of football games and parties. When Cam noticed a girl passed-out on the
sidewalk late one Saturday night, he stopped the car, helped her to a safe place, and made sure someone stayed with
her until morning. Another instance is when^^^|^^^^^^^^|
                 Cam                                                             and                          ever
since. Our much younger son also adores Cameron, in part because he always made an extra effort to include him
with the "college guys" whenever we were all together. Cam is among the warmest, most kind-hearted people that
either of our boys have ever befriended, and it has been a joy to know him. Over dinner during their senior year Cam
mentioned that his plan was to work in a corporation for a few years and then start his own business. His father had
once confided that he hoped one day Cameron would take his place in government. My immediate thought was, no
way. Cam takes after his mom, and is not big on politics. He has the personality and many more of the interests of a
typical engineer.

As a twenty-something just starting his adult life, Cameron was on his way toward building his own career, learning
new skills, and hobbies and contributing positively to society. As a novice, cook, baker and gardener he would
occasionally reach out for my chocolate chip cookie recipe he was so fond of, or for advice on what basil seed variety to
grow. Small, every day examples meant to illustrate that young adults, still learning, often seek the guidance of older,
experienced, trusted adults for matters of life, both small and large.

Your Honor, knowing Cameron, his reserved, measured, soft-spoken and stoic demeanor all show intense remorse and
regret. I ask, that as you weigh your decision, you consider the good Cameron can continue to do for others and the
many positive and impactful contributions he will continue to make to his community once he is allowed to put this
serious passage behind him.




Sincerely,




Julia Carey



                                                                                                                         12
                                                                                November 13, 2019

The Honorable Vernon S. Broderick
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York. New York 10007


Dear Judge Broderick,

My name is Filip Stransky, and 1 am close friend of Cameron Collins. I am twenty-six years old,
currently live in the                                t he^^H|||[[|||||||||[|[|||H
             Cameron and I met in our first year of College at Vitlanova University, and have
remained extremely close friends ever since. I am writing to hopefully provide you with some
personal in.sight to Cameron as a person in order to help better inform your decision with regards
to his sentencing. I hope you w'on’t mind that from this point on I will refer to Cameron as
‘Cam’; it feels far too unnatural to refer to such a good friend in such a formal, distant way.

As I mentioned before. Cam and I met in our first year of college and immediately became very
close friends. Within a month or two, we began spending time together almost daily, and by the
end of the year we had agreed to share a dorm For tlie next year. We worked, socialized, and
lived perfectly together and remained roommates until our graduation in 2015. At the end of our
first year we found an opportunity to take over a failing fraternity together with an impressively
diverse group of other students from all backgrounds, and immediately became even closer
friends. Cam was quickly identified as one of the brightest, handiest, and by far most dependable
members and was quickly assigned (he role of treasurer. While rebuilding a dilapidated house.
Cam spent more time, resources, and effort than most to step forward and rebuild furniture,
clean, and help others.

Cam always impressed me with his incredibly quick and sound intellect and will power. When
something had to be done or figured out. Cam stepped forward without hesitation. When some
bit of technology would break, others would tlii'ow it out. but Cam would take it apart and begin
soldering the motherboard. In moments of tension or aggression, others would let their emotions
get the best of them, while Cam would remain calm, apply logic, and solve the conflict like a
math problem. I’hough as much as Cain is intelligent and dependable, 1 have always found him
to be even more so generous. He always acted without any selfish hesitations and just did what
was right. If someone needed a ride and he was free, he would help. Once, he had a camera
which he rarely used, and knowing well that I could not afford a new one, he gave his to me
instead of selling it for his own benefit.

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I could write pages and pages on examples of Cam’s selflessness, his impressive intelligence and
dependability, or his generosity and willpower. I hope you can take these accounts into
consideration for his case. I firmly believe that Cameron is not and will never be the type of
person to do anything out of ill will, let alone with harm towards anyone else. I firmly believe
instead that Cameron is a rare person with a brilliant mind, who was put on this Earth to do great
things for benefit of us all. I view him as one of the few who were graced with not only an
incredibly bright mind, but also a well-balanced, forward thinking, confident and yet kind
character, and that it would be a shame for him to be held back. I understand Cameron has
pleaded guilty to the charges placed against him, but I believe that his acts were done in line with
how I have come to know him; his logic outweighed his reason, he saw a problem which could
be avoided and jumped into action without slowing down to consider the reality of what action
was.

Cam is a great person who will do great things, but like any of us, he has made a mistake which
he now regrets with a disdain I cannot even imagine. I hope you can see in him the same
positive, eager, and kind person I have come to know and love, and that my letter will help you
in your decision.
                                    /

Sincerely,                       fy'ffanS^~y
Filip Stransky




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November 17, 2019

Hon, Vernon S, Urock'rick
Uniied Slates I )isiricl of New York
I hurgood Marshall United States Courthouse
40 Foley Square
New Yoik, NY 10007



Dear Judge Broderick.

1 have had the |)ieasure of knowing Cameron Culliiis lot die gasi 18 yeuis. Caiiieiuii diid 1 flisl met
lliruugli his iiivolveineiii in C.ul) Scouts, and I grew to know liiiri more when he transitioned into Boy
Scour'rron|ip|H||||||H|^m^|^^^^^|rtiroiigh his years In scouting, (Jameron proved himsell to
be respectful, dedicated, and res|)onsiblc'. VVlien he was a cub scout he told rue that he wanted to earn
liis F.agle Scout Award at a young age, and he worked diligently througliout liis yr'iirs in scouting to
make that dream a possibility.

The Ragle Seoul Award is the highest achievemenr in Scouting, and shows that you are a leader in the
community and that you emboily the ideals of the Boy Scout Organization, Cameron earned liis award
ill age 13, setting a record for the youngest Riigle Scout recipient ever in th(‘Greater Niagara Frontier
Boy Scout Council. Alter receiving his award, Cameron continued to participate iu Boy Scouts, wdiere
he was a role model lor his fellow scouts. I'hrougliout uur yecirs iu scouting together Cameron lids
proved himself to be trustworthy, respectful to his (>lders and peers, and a pillar of support in his troop.


Sincerely,

                   'Y,7y.

David Wind




                                                                                                        15
                                                November 21, 2019



Hon, Vernon S. Broderick
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

 Dear Judge Broderick:

                 Cameron Collins

         I first met Cameron Collins when he was only 11 years old when he joined Boy Scout TroopMin
 Clarence, New York in January 2004 where my son was also a boy scout.
||^|^m|[||||||||||||m|Logether with his father Chris Collins. My first Impression of Cameron was
that he was re.spectful, bright eyed, and focused. He was hard working and had a great work ethic. It
was easy to see that he enjoyed scouting, and he worked hard over the next couple of years towards
earning the rank of Eagle Scout, Cameron always strived to set a good example for othens and would
take it upon himself to help out the younger scouts.

          Cameron's Eagle Scout service project was to build 10 wooden benches to be used at the Beaver
 Meadow Nature Center in North Java Center, New York, He wanted to be sure that the materials used
 for the benches were of good quality so that they would last a long time. He rounded up and led over
 15 people to assist him with his service project. The project took 170 hours to complete, and he also
 took it upon himself to Involve the Webelos Cub Scouts with his service project so that he could
 introduce them to Boy Scouts and teach them what an Eagle Scout project was all about. In May, 2006,
 Cameron achieved the rank of Eagle Scoot at the young age of 13. After becoming an Eagle Scout,
 Cameron stayed involved with the troop and continued to earn merit badges over the next 3 'A years. I
                                                        would speak to his father periodically to see how
 he was doing.

          From a young age, I have observed Cameron to be of high moral character, trustworthy,
 courteous and hard working. I am proud to have had the opportunity to see Cameron grow up to be a
 responsible young man. Thank you for taking Into consideration Cameron's positive qualities.

                                                         Sincerely,--^:?

                                                              if /■ / Y
                                                         Ronald F. Nowak




                                                                                                        16
November 27. 2019




Hon. Vernon S. Broderick
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007


Re: Cameron Collins


Dear Judge Broderick:

As a friend of the Collins Family for 25 years, I have known Cameron almost his entire life, He
has always been a kind, helpful and polite young man. From his days of gymnastics and liis
years in Boy Scouts, rising to the highest honor of Eagle Scout, Cameron has always
demonstrated excellent leadership, hard work & dedication in his many school, work, community
activities and charitable causes. Cameron has set a great example of all the accomplishments
a young man can achieve in a short amount of time.

Thank you for the opportunity to express my heartfelt thoughts on Cameron, An accomplished
young man who we are very proud of and support.

Sincerely,




                                                                                              17
                                  Caitlin Collins



November 15, 2019


Hon. Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re; Cameron Collins

Dear Judge Broderick:

1 am writing this letter on behalf of my brother, Cameron Collins. 1 am lucky and
honored to have him as my brother. I have known Cameron for his entire life, and he
has demonstrated that he is a kind, good-hearted person, as well as an exemplary
human being. Cameron has historically placed the comfort and happiness of others
ahead of his own. If someone needs help with something, Cameron will drop
whatever he is doing to lend a helping hand, and his help is of the highest caliber.

Cameron is, in my opinion, an engineering genius. When I moved into my last two
apartments, Cameron was there to help install my cable. Wifi, smart lights, speaker
system, etc. Whenever 1 call or text him with any technology-related question, no
matter how absurd or far-fetched, he always provides the correct answer or
solution in.stantaneously. I truly don’t know what I would do without him.

Growing up, Cameron was a friend to everyone. He was always well liked and loyal
to his friends and family. Now, his fiancee is included in his definition of family. My
brother has always been respectful of all people, but I would like to make specific
note of his great respect for her.

The way my brother treats his fiancee is rare. He alwtiys puts her first, thinking of
her needs and comibrt ahead of his own. He is honorable, loyal, helpful and kind-
especially as it relates to her. There are no limits to Cameron’s generosity or
selflessness when it comes to her. His love is not predicated on any conditions. I
often place him in a league of his own, since he makes it nearly impossible for others
to meet the bar he has set.




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You might think that I am looking at Cameron through rose-colored glasses, since he
is my family. However, anyone who knows him would corroborate my testimony.
The world is a better place because Cameron is in it.

Of course, 1 acknowledge that even great people with great intentions make
mistakes. But Cameron is not one to make the same mistake twice. 1 know my
brother, and 1 know that he has learned from every mistake he has ever made. The
circumstances that lead to the writing of this letter are no exception. Cameron is
young with a lot to offer the world. 1 absolutely believe that he will make this world
a better place over the course of his life, despite the fact that he will be labeled a
felon for the duration of that life. 1 believe he will spend his life making up for his
mistakes.

1 respectfully ask you. Judge Broderick, to be merciful in your sentencing decision
regarding my brother. Cameron has put his life on hold for the past 18 months, even
postponing his wedding. He has become mentally devastated to the point that 1 can
feel it when 1 look at him. 1 see the worry on his face as he does his best not to let his
tragic situation affect those he interacts with. As you know, his future is in your
hands.

Thank you for this opportunity to share my insights into my brother's character.

Sincerely,



Caitlin Collins




                                                                                             19
Dear Judge Broderick,

My name is Conor Leary and I am a software engineer residing in Boston. MA.
I have had the privilege of knowing Cameron for thirteen years. I am aware of
the seriousness of his crimes, and he has expressed a significant amount of
remorse. Despite his grave mistake, Cameron is an incredibly high character
individual and 1 would like to share a few stories demonstrating as much.

I met Cameron Just prior to our freshman year of high school. My mother was
organizing a fundraising lunch for the Erie Country library association and
dragged me along. As a shy and reserved 13-year old, being forced to mingle
with adults was my biggest fear. Fortunately, Chris Collins, Cameron’s father,
was speaking at the event and brought his entire family. Despite having many of
his ov^n friends at the event, Cameron noticed me uncomfortably standing by
myself and invited me to spend time with him and his friends. That was the start
of our friendship and my appreciation for Cameron’s empathy.

During high school. Cameron v/as vridely known as a good person and helpful
classmate. At a time v^hen most kids mocked each other with regularity,
Cameron never succumbed to putting someone else down. He was a helpful
classmate and people often asked would him to help explain a concept or
understand a problem after class. During senior year. I shared six classes with
Cameron. Almost daily, we v.'ould socialize and work on homework. Often, my
friends and I would procrastinate and find ourselves v»'ith weeks of work and only
a single night to complete it. Cameron, on the other hand, would diligently
complete his work by doing a small amount each day. Despite being done with
his work, Cameron would always stay up late and cheerfully teaching us the
relevant material.

In addition to helping his classmates, Cameron volunteered to teach others In his
spare time during the summer following high school. Rather than taking a
leisurely Job as a lifeguard or camp counselor, Cameron and I volunteered with
the|[|^^||||||||[|||||||^^        We were assigned the Leonardo da Vinci exhibit
and spent our time explaining the physics behind da Vinci's various designs.
Cameron quickly became a crowd favorite for his knowledge and passion for the
exhibit. He consistently expressed patience and never shied away from
spending extra time to help an adult or child understand the concepts behind the
designs,

I have stayed in touch with Cameron and I know he’s still the compassionate kid I
met thirteen years ago. I truly believe that this was a one-time mistake for which
he is deeply remorseful. I ask that you keep this letter and Cameron's overall
character in mind while making your sentencing decision.


Sincerely,



                                                                                     20
                                                 Lauren Zarsk



November 6,2019

The Honorable Vernon S. Broderick
United States District Judge
United Stales District Court
Southern District of New York
Thurgood Marshall United Slates Courthouse
40 Foley Square
New York, New York 10007

Dear Judge Broderick:

1 am writing this letter on behalf of my fianed, Cameron Collins. Since the day we met at Villanova
Univcr.sity, Fve always known that 1 am incredibly blessed to have someone like Cameron in my life. Fm
realizing now, when having to decide on the contents of this letter, that Fm truly one of the luckiest women
in the world; there are quite literally too many positive things to include in one letter. Although the
circumstances that motivated me to write this letter are utterly heartbreaking to me, I am grateful to be able
to put into words how exceptional a person that Cameron has always been to me. 1 pray for your mercy in
Cameron’s sentencing, as you consider these notes from my heart.

Just to be clear, my goal in this letter is not just to portray that Cameron is a good person, but instead, my
mission is to prove to you that Cameron is an uncommonly good person. We often hear the phrase ‘random
acts of kindness’, but that doesn’t apply to Cameron; kindness isn’t random or infrequent, it’s built into his
DNA. It might be easy to say that Fm biased, but the truth is there are very few people in the world who I
know that can rival Cameron in ‘goodness’. Simply speaking, he is a rare individual.

I can still vividly recall the first time I met Cameron. It just so happened this was the day before parents’
weekend at Villanova. I was never one to discuss boys with my mom, but 1 can specifically recall telling her
that (Jameron was ‘different’. I remember sitting in the cafeteria with my parents and gushing about this
totally new, yet seemingly remarkable guy. I can still picture how my mom’s face lit up when 1 told her that
he was an electrical engineer. She had always told me how kind and genuine all of the engineers were that
she worked with at her job. She had not met Cameron at the time, but it was obvious that she knew he
already held a special place in my heart.

Cameron might be an electrical engineer by trade, but I like to call him an ‘everything engineer’. Not only is
he incredibly organized and knowledgeable about all types of technology and appliances, but he also
constantly finds w'ays to use his skills to make others’ lives easier. Without any exaggeration, he has fixed
upwards of 100 home appliances, installed and constructed countless pieces of furniture and has automated
nearly all light switches and other electronic devices in the homes of many family members and friends.
When Cameron can’t fix everything, and someone has to call in a professional, you know there is a serious
problem. Now that Fm thinking about it, I believe this has only happened once or twice over the past seven
years. I’ll also note that he genuinely enjoys helping people and fixing problems, so self-fulfillment is the
only reward he’s ever been willing to accept.

When it comes to taking care of our dogs, Fm definitely .spoiled. Cameron is always the one to get up before
the sun rises to take them for a walk. 1 don’t typically get up as early, but on occasion I’ll sit by the bedroom

                                                                                                         21
window to watch the sunrise. On one of these mornings, \ noticed Cameron walking around outside with a
large trash bag. Naturally, 1 assumed this was our trash that he was taking out, but then it occurred to me
that all of our trash had been put out the day before. When he came inside, I asked him what he was doing
with the trash, and he told me that about a month ago he started a new morning practice of picking up litter
around the nemhborhoo^w^le walking the dogs. Immediately, but to no surprise, my heart melted. Our
residence                         located in a busy area filled with tourists and bcachgoers. Unfortunately,
because we live in such a high traffic area, people are constantly getting in and out of their cars and looking
to dispose of their garbage as fast as possible. Often times, this means throwing empty bottles or food
containers on the side of the road, especially on weekends, Cameron expressed to me his concern with the
garbage and said that, since we live so close to the ocean, he was worried that the debris would ultimately
end up harming an innocent sea creature. This, in my mind, does not describe the average ‘good person’.

Cameron isn’t just willing to do anything for the people he loves, he actually does everything before anyone
even asks for it. I can remember when he installed motion sensors in my grandmother’s apartment because
he’s seen how stressed and worried I become when she doesn’t pick up the phone. Now, he can tell me that
she was in the living room a couple minutes ago, and probably Just couldn’t hear the phone when 1 called.
He’s also programmed specific lights to go on in the middle of the night when motion is detected near the
stairs to prevent our parents from accidentally missing a step.

Recently, one of the truly kindhearted gestures Cameron made involved moving my 94-year-old
grandmother out of the home she had lived in for over 60 years and into a new apartment. This transition
was not easy for someone her age, but Cameron made sure everything worked out seamlessly, Not only did
he coordinate the U-llaul and single haiulcdly maneuver all of the heavy furniture into her new place, but he
was also generous enough to gift her all of the new or lightly used furniture that he had previously moved
out of his own apartment.

Prior to this move, my grandmother frequently struggled to get a strong signal on her cable TV. I can’t
recall the number of times I found Cameron running 100 foot long wires and assembling bulky antennas on
her roof to tiy to find a solution. I remember one time, specifically, when he climbed out on the roof in the
pouring rain for 30 minutes desperately maneuvering the antenna .so she was able to watch her favorite TV
show later that night. ,My grandmother is one of the most important people in my lil’e, and it warms my heart
to know that Cameron is willing to do anything for her, without ever asking for anything in return,

Cameron enjoys building things, creating .solutions to existing problems, 3D printing, robotics, photography,
the advancement of technology, and caring for animals. He likes to find practical ways to employ his
knowledge to make everyday living more efficient and enjoyable. As I’ve discussed with many of his
friends, those people who know Cameron best are inspired by his innate ability to understand electronics
and patiently assist those in need. As a perfect fir with my personality, Cameron also obtains a great deal of
fulfillment from volunteering and helping animals.

About two years ago, Cameron and I took a 3-week trip across the world to visit Australia and New
Zealand. As part of this trip we decided to dedicate a week of our time, traveling to and from a small island
off the coast of Cairns, Australia, to care for injured and recovering sea turtles, 'I’he conditions we endured
weren’t ideal, but Cameron never stopped for a second to complain or take a break. It i,s not unlike him to go
for extended periods of time without stopping his work when he feels genuinely committed to his cause.

Cameron and I have                                                                              Building
always been one of Cameron’s gifts, so it was no surprise that he insisted wc help out with the
               Devotion is something that comes very naturally to him, and this has made me feel
incredibly special over the past seven years.

                                                                                                        22
I'hroughout the time Fve known Cameron, lie has not only inspired me to become a better person, but he
has taught me many valuable life lessons, as well. One of the frequently overlooked character traits that
Cameron possesses is his unshakable patience with every situation that he encounters. Whether his day
involves several complicated technology issues with our family members electronic devices, multiple
accidents around the house with our puppy, or downright chaotic situations, like our bedroom ceiling
cracking and leaking,! rarely see Cameron get flustered or upset. He accepts the situation, works
expeditiously to resolve the is.sue and moves ahead with his day. Cameron’s mind seems to work differently
than the average person’s - he secs problems as opportunities to make a positive contribution. He brings
peace into every room he enters. I honestly find it hard to believe he’s only human.

Cameron is also an incredibly practical person. I remember for one of our first Valentine’s Days as a couple,
he bought me a computer hard-drive because 1 had been complaining about the speed of my laptop. It’s
probably safe to say that most people would get their girlfriend chocolate or flowers, but not Cameron. This
still makes me laugh to this day. Cameron has since learned that I also enjoy flowers, but I know his
intentions have always been more than 1 could ever ask from someone.

During senior year of college Cameron and I decided wc wanted to get a puppy. 1 know that the majority of
college students would be hesitant about this idea, considering the demands of coursework and social
engagements, but Cameron look on the responsibility with case. Over and over again, he has proven his
unwavering commitment to the things that he cares about. Over the past seven years of our relationship. I’ve
become more and more aware of his unique ability to care for others. Wdiether it be through donating dog
toys to a local shelter or going out of his way to assist an elderly neighbor, Cameron’s compassion never
seems to end. Getting engaged to Cameron was one of the happiest days of my life, and I know some day in
the future he will be an amazing husband and father to our children.

Growing up in a family that was very involved in scouting, I developed a great deal of respect for those who
dedicated their time to this activity. Dike Cameron, my older brother, Brandon, is an Eagle Scout. To this
day, I can remember helping him with his Eagle project. When 1 learned that Cameron, too, is an Eagle
Scout, I immediately knew he was someone I could look up to, just like my brother. Not to my surprise, 1
later found out that Cameron, in seventh grade, became the youngest Eagle .Scout in New York State
         To say Cameron is humble would certainly be an understatement.

Over time. I’ve also come to learn that Cameron is the type of athlete who coaches love; the reason being
that he is willing to pour his heart and soul into everything that he does. As a high school student, Cameron
was involved in gymnastics, soccer and lacrosse. He has told me that on a regular basis he would typically
put in 15 hours a week to develop his gymnastics routine, all on top of his academic requirements. Since
I’ve known him, this persistence and dedication has been a prevalent theme throughout all of the activities
in his life.

Cameron frequently gives educational talks and leads group tours at the^^^^^n New .lensey where wc
both volunteer our time. Whenever I decide to take a second to observe him, it’s heartwarming to watch his
enthusiasm about animals and conservation pour out of him and into the hearts of young children. He values
his role as an educator and takes this responsibility very seriously. Cameron is also a perfectionist. He’s the
only person who I’ve seen that will scrub the entire|||[||||||||||||||||||H||HH               come out
dripping in sweat with a huge smile on his face. I know from experience; this is the smelliest and most
physically trying task <h|m|||[||||H^| 1 can say with one hundred percent confidence that there is no one
better for the job.




                                                                                                       23
Cameron has many ambitious goals that he continuously strives to accomplish. One day he hopes to start a
company that will enable children to learn the basics of electronics and build a foundation for many young
engineers of our future. He frequently speaks to me about his desire to have a positive impact on society and
the development of today’s youth. Cameron is a one-of-a-kind human being, who I know will accomplish
great things during his life.

It’s hard for me to imagine a world in which I don’t have Cameron by my side every day, however, that is
now the unfortunate reality I must face. I hope that I have been able to provide a clear and concise picture of
who Cameron truly is on a day-to-day basis. There are countless examples I could provide to show
Cameron’s character, but I hope the stories that I have chosen to share allow you to see into his soul and,
secondhandedly, experience the pure goodness that flows out of him and into the world. One of the last
things that I need to mention is that Cameron has an unfaltering tendency to see the good in all people. With
the situation that he faces now, I can only hope that everyone around him will choose to see the great
qualities in him that he has lived by for the last 26 years of his life.

Those people, like myself, who have had had the pleasure of knowing Cameron will tell you that he uses his
skills and capabilities as an engineer, as well as his kind-hearted nature, to make others’ lives better.
Cameron values knowledge, but his own individual success and advancement has never been the driving
force behind his actions. Keeping in mind all of the examples I’ve provided to highlight certain aspects of
Cameron’s character, these are the reasons why I can say, without any uncertainty, that the acts to which
Cameron has pleaded guilty are inconsistent with the way he lives his everyday life and the core values he
holds deeply in his heart.

I can attest to the fact that Cameron has spent his whole life defining himself as a good person. He has given
back far more than he has taken and he is a great example of generosity and selflessness. To me, these are
the things that matter most, so I hope in the end, they will be weighed accordingly. Cameron hasn’t only
admitted his mistake, but is very remorseful that his action has impacted others. Over the past year and a
half Cameron has shown that his character is strong and he has continued to support his family, friends and
community in every way that he possibly can. He has grown into an even better person because of this
tragedy.

Cameron is not an emotionally forward person, but because I am closest to him, I can tell you that he has
already suffered immensely as a result of his actions. Watching him cope with his remorse has been one of
the hardest things I’ve had to do up to this point in my life. I feel this way because Cameron is an
astoundingly good person who, for a moment in time, was caught up in the wrong circumstances.

I kindly ask for your mercy, as you consider the contents of this letter and, ultimately, when making your
sentencing decision. I have endured the greatest hardship of my life watching my fiance suffer, and that will
only continue to be the case if Cameron is incarcerated. Cameron supports both my family and his family in
countless ways, so we would all suffer tremendously as a result of his absence. Although I’m sure this is
obvious by now, there is no one other than Cameron who I would rather spend the rest of my life with. I so
look forward to the day when I can finally call him my dearly beloved husband. I pray that day will be soon.

With my sincerest appreciation.




                                                                                                       24
The Honorable Vernon S. Broderick
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Dear Judge Broderick,

I am writing this letter to request your leniency in the sentencing of Cameron Collins, or as I call him,
Cam. My name is Chrissie O'Neill - I am engaged to Brandon Zarsky, whose sister Lauren Zarsky is Cam's
fiance. I am 28 years old and w ii I    111                                                  I currently
reside with Brandon ini

I have had the pleasure of knowing Cam for nearly five years. Thankfully, Brandon and Lauren are very
close and that relationship has enabled the four of us to spend considerable time together over the
years. Cam is not just our soon to be "brother-in-law" in title - he is a part of our family and it has been
wonderful getting to know him. I will admit, when I heard about Cam's background and family, I
privately wondered what he would be like and if we would have anything in common. Cam has proven
himself to be humble, kind, loyal, and abundantly generous in all of our interactions - a far cry from any
preconceived notions I may have had about him.

This letter is not long enough for me to list all the memorable moments I have shared with Cam, Lauren,
and Brandon over the years, but I will attempt to do so in a concise manner. We all share a love of
nature and animals and have visited zoos together, gone hiking, and frequently play with each other's
pets Rylee, Skylar, and Mochi. We have had dinner double dates, attended Halloween parties, had
sleepovers at each other's houses/apartments, visited breweries for birthdays, and had a good laugh
getting our faces painted.

Cam brings joy wherever he goes, but perhaps his best quality is his willingness to do anything for his
friends and family. I have witnessed him helping Brandon and Lauren's grandma learn how to use her
remotes, build new furniture in her apartment, and take her out for lunches and dinners to get her out
of the house. I have seen him volunteer at the                             cleaning up|
despite^                                 at times. Cam has even offered to take engagement photos for
Brandon and I. He has helped us with all of our technology troubleshooting and has utilized his
electrical engineering expertise to repair headphones for Brandon. No matter the day or time, Cam has
always been willing to share his time and his talents to help everyone around him.

Given my field of work,! understand and acknowledge the severity of what Cam has pleaded guilty to.
That being said, he has expressed extreme remorse regarding his actions and those actions are
completely inconsistent with the person I have come to know. Thank you so much for your time. I hope
you will take this in consideration when determining Cam's ultimate sentence.

Respectfully,



Chrissie O'Neill




                                                                                                         25
                                                                                   Mrs. Dorothy Zarsky




 October 27, 2019

Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

Dear Judge Broderick,

 I am writing to you about my future son-in-law, Cameron Collins, whom I have known for six
years. Cameron and my daughter, Lauren, met in college at Villanova University during freshman
year. Lauren is a very level-headed and focused young woman who took her studies at Villanova
very seriously. When she told me she had met Cameron, I was delighted to hear that she felt he
was a genuine, caring guy. From that moment on, knowing how particular my daughter is, I was
excited to meet Cameron. During Lauren's second semester of freshman year she went to study
and intern abroad in the UK, so it wasn't until the end of sophomore year that I met Cameron. It
was on move-out date from school and there was Cameron helping Lauren, my husband and I
with the move. I was immediately impressed with Cameron's sincere and affectionate attitude
towards our daughter, I was extremely happy and relieved to know that Lauren had met a kind-
hearted young man,

Lauren and Cameron's relationship developed through Junior and Senior year. They were
inseparable. In their senior year of college their relationship was solid enough that they decided
to get a puppy. They both worked very hard in school and interviewed for Jobs. Lauren
graduated with honors with an accounting degree and was hired by jjjjjjjH
Cameron graduated with honors as an electrical engineer. At the time, I was working for ||||||||||||[^
When I heard that Cameron had applied for a Job ^^^|l gladly took the opportunity to
provide a recommendation for him as a smart, hardworking, reliable and independent thinker,
Subsequently, Cameron was hired and his manager sincerely thanked me after getting to know
him,

I feel so blessed that my daughter has met such a wonderful, kind and patient man. Cameron is
an extremely talented engineer. There isn't anything that Cameron can't tackle. Cameron has
helped us with so many projects at our house and never gets annoyed with our never-ending
requests for help. Over the years, I wish I had kept track of the number of the hours that he has
dedicated to our family - I'm sure it would be in the hundreds. Ever since Cameron became
aware of the fact that




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                                       , he has gone so far out of his way, frequently driving over an
 hour each way, to clean our gutters or complete any tasks that require a ladder. Your honor,
 there is really no way I could ever repay Cameron for his kindness, I speak for myself and
 countless others when I say that I can't imagine my life without Cameron, I've only known him
 for six years, and in that time, he has given me more than most other people in my life.

We were so happy when Lauren and Cameron got engaged. It was a parent's dream come true.
They are such a wonderful couple. They have grown even closer through this hardship and have
both given me strength and confidence with their positive outlooks. It's hard to believe that two
26-year-olds can reshape their parents' perspectives on life, but Cameron and Lauren are, and
have always been, the exception, That to me says a lot about their character and strong faith.

Cameron and Lauren both spend a lot of their time helping their families. Over the last year
Cameron, specifically, has helped my mother, Lauren's grandmother, who is 94 years-old, with
her move to a new apartment. This was a massive undertaking involving packing up her previous
home of over 60 years, moving and assembling furniture and installing technology to assist with
her safety and enjoyment. This effort took weeks of Cameron's time, that he could have spent
doing many other things, but I'm confident that thought never crossed his mind, it's hard to find
someone who will drop whatever it is they are doing to help others, but I've noticed this is an
established theme in Cameron's life.

Cameron has consistently demonstrated his desire to support others In all areas of his life. At a
recent church service, the pastor asked for volunteers to help set up a youth center. Without
hesitation, Cameron offered to volunteer his time and skills. It is inspiring to see a young person,
like Cameron, gain happiness through serving others. It doesn't take very long to learn that
Cameron strives to share his unique abilities in every way that he can.

In March of 2018 Cameron and Lauren took a trip across the world to visit Australia and New
Zealand. Instead of spending all of their time as tourists, they chose to dedicate a large portion
of their trip to caring for sid^n^njure^ea turtles. Similarly, they've also dedicated hundreds
of hours as volunteers to ^||||||||||^^        New Jersey. One day doesn't go by that I'm not
totally awestruck by their commitment to supporting those in need. As a parent, I can say that
their generosity frequently brings tears to my eyes. I've wondered to myself on many occasions,
how much better society would be if everyone was as selfless as Cameron and Lauren, As a
couple, they've exhibited more compassion in their lives than most people who are double their
age. It's both tragic and depressing that they've had to postpone their marriage, for now over 2
years, with the hope that there will be brighter days ahead. There are no two people who are
more deserving of a happy ending,

I have been through this entire situation with Cameron and Lauren and 1 can assure you that
Cameron is truly sorry and deeply regrets his actions. His action was not premeditated, but done
in haste without taking the time to think rationally. Cameron has learned from this error in
judgment and has gone above and beyond to show that he will be an even better person as a




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result of this life-altering experience. We've all been living in such horror and limbo not knowing
what the future holds. Throughout my life I've dealt with and witnessed a great deal of hardship
amongst family members and friends, however, I've never been as deeply affected by any
situation more than the one that Cameron faces now. It causes me great physical and mental
torment to see someone who is so giving and so young be permanently scarred by a single
incident. If only we could all take a step back and look at Cameron's overall record as a human­
being, and not only his misjudgment for a moment in time, the big picture would be exceedingly
clear.

I can't say enough good things about Cameron. He is an extraordinary person. I wish that, prior
to your judgment, you could spend a little time with Cameron to witness, first-hand, that he is an
outstanding person with so much to offer society, it breaks my heart to have to plead with you
not to send him to prison. I sincerely request that you be mindful of the fact that a felony
conviction is something that Cameron will have to live with for the rest of his life. It has been so
hard to watch one of the most selfless people I know suffer so immensely. Since this unfortunate
event, there has been no peace-of-mind and utter fear for Cameron's future. I can't even begin
to express the amount of pain and suffering that has already been endured by my daughter.
Now, instead of looking up to someone like Cameron, people immediately look down. It's as if all
of the good he's ever done has suddenly disappeared. It's unbearable to dwell on these
unfortunate truths.

Your honor, I kindly ask for your reflection on ail of the hardship that Cameron has gone through
and how tirelessly he will need to work, from now on, to prove that he is worthy of a decent
future, if he is given a fair chance, I have no doubt that Cameron will do great things for our
society. He will make us all very proud.

Thank you for your consideration.

With appreciation,




Dorothy Zarsky




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out, but I've always taken notice of them in everyone I encounter as things that speak to someone's true
character.

One of the first things I tell people when I am trying to describe Cam is, "he's very smart and knows how
to do everything, but you'd never find out unless you talked to him about it," He is modest and never
brags or boasts about anything, despite having so much knowledge and so many skills. He will, however,
share these skills with those who needs them.

Over the summer, Lauren and Cam visited my new home for 2 days, i had warned them that in the 1
hour it took for the front door keys to hit my palm, the water heater decided to break, so don't expect
to take any hot showers. Over these 2 days, in between our regularly scheduled itinerary of exploring
New Haven, Cam saved me thousands of dollars by fixing my water heater, cleaning out my backed up
and flooded dryer vent, re-piping my burst garden hose line and switching outlets out... He did it all with
a smile while covered in dryer lint and bird nest sticks. He still volunteered to walk my dog three times
each day, and even tried to stop me from buying them dinner as a thank you. I am still in awe and so
grateful. After hearing about our productive weekend, my father has been trying to entice him to his
house in the Poconos offering his own thank you dinner as bait.

As a final point, I'd like to make known to you how happy I am on a daily basis knowing that my best
friend, who I love as family, has this extraordinary person in her life to be part of her support system, go
on adventures with, raise two adorable puppies with, help decide what to eat for dinner with and just
experience life with. I could not have asked for a better partner for her.

I write this stream-of-consciousness letter to you in hopes that it can convey, in just these few
paragraphs, a small hint of the type of person Cameron is, not just to me, but to everyone he knows and
meets.

I personally request that you please take this letter, and the others you will be receiving, into account
when sentencing Cameron. What started out as "my best friend's boyfriend" very quickly turned into
just "my best friend". Cameron is a significant part of my life, and, as I'm sure you'll learn, many others'
as well.



Thank you again for your time,




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                                           Stella Ciborowski



November 13, 2019

The Honorable Vernon S. Broderick
United States District Judge
United Slates District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Regarding Cameron Collins

Dear Judge Broderick,

My name is Stella Ciborowski. I have known Cameron for six years and over this time he has proven that
he is a very good person. Tm 94 years old and have known a lot of people in my life, so 1 would like to
believe that 1 can tell the difference. Cameron got engaged to my granddaughter, Lauren, about two years
ago, and he had been her friend for many years before that. He is a smart and caring person, and is very
helpful to our family and to other’s. He and my granddaughter go out of their way to come to see me very
often and always treat me to a meal and bring me the groceries that I need. My heart is warmed by their
generosity, especially considering that they are so young. They make me very' proud.

Last year I moved out of my home of 65 years and into an apartment. It was a stressful move, but
Cameron helped me every step of the way and never once .stopped to take a break. He is a hard worker.
He is helpful, respectful and kind to everyone, including me. He is constantly helping me fix problems
with my TV or phone. At my age there are certain everyday ta.sks that are now a struggle, but Cameron
frequently goes out of his way to make my life easier. Without asking, he will often scrub my bathroom,
clean my refrigerator and vacuum all around my apartment to spare me from these strenuous chores.
Cameron has changed my definition of the word ‘thoughtful’.

Cameron makes my granddaughter very happy and she means tlie world to me. I am so very thankful that
she has fovmd such a genuine man. She couldn’t be in better hands. He is polite gentleman and always
holds the door for me and offers to carry my bags. He has spent so much of his time graciously attending
to my needs. 1 am confident that he would do anything for me.

When Cameron and Lauren got engaged, 1 was so very happy. They are wonderful together and Cameron
treats her like gold. He has a good soul. 1 know that Cameron feels honible for what he has done. I can
tell that he didn’t mean to hurt anyone or do anything wrong. Cameron and Lauren were planning to get
married before all of this happened, so it breaks my heart to watch them suffer day after day. Cameron is
an honest, clean-cut guy, so I ask that you to consider all of these things and be kind to him.

Sincerely,


Stella Ciborowski



                                                                                                  31
The Honorable Vernon S. Broderick
United States District Judge
United States District Court
Southern District of New York
Hiurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007



Dear Judge Broderick,


        1 am writing this letter to i-equest your leniency in the sentencing of Cameron Collins. My name is
 Brandon Zarsky, and my sister is Lauren Zarsky, Cameron’s fiancee. 1 am 29 years old and work as a
---- J:...— —      ...........................central New Jersey. I currently reside with my fiancee
 Christine O’Neill in|
         1 have known Cameron for approximately seven years, Before I met him, 1 did not know much
 about him apart from the fact that his father had recently been elected to Congress and that he had gone to
 school to become an engineer. I had my reservations about the kind of person he would be betore 1 me
 him, but shortly after my sister returned from college and we began to see each other moie regularly,
 began to learn why my sister was so fond of him.
         While Cameron can come off as a quiet and rcseiwed person, inside his head he is always thinking
 about ways to improve the lives of everyone around him. He has spent more weekends than 1 can count at
 my both my parent’s and grandparent’s homes repairing electronics, assisting my iathei with household
 projects, ferrying my grandma to and from church and social activities, and lending a hand in any other way
 he can. In those seven years I can honestly say t have never seen him upset my sister, speak out of hand, oi
 act cruelly. Rather, he has always taken every opportunity to help those around him, in any way he can.

           While I understand the gravity of what Cameron did, I do not believe those acts reflect who he is
  as a person. Rather. I truly think they were the result of his strong sense of family and
  desire to protect the people he cared for, which in turn blurred Ins judgement. While I appreciate that this
  in no way absolves him, I ask that you take my words into consideration and show him leniency at the time
  of sentencing.


  Respectfully,



  Brandon S. Zarsky




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November 21, 2019

The Honorable Vernon S. Broderick
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York. 10007

Dear Judge Broderick:

My name is Sandra Zablocki and I am writing in support of Cameron ("Cam") Collins. I met Cam four years ago as a
result of his relationship with Lauren Zarsky, the daughter of my closest friends. I have been in Cameron's company
many times over these years as well as a guest in his home in New Jersey and his home in Florida. I cannot help but think
of him as gracious and hospitable as I have been a beneficiary of his giving nature.

Cameron is industrious, always busy with projects around the home, making improvements and the best use of space
that he has to work with. He dives into his work, full speed ahead, never wanting to see a minute wasted and already
visualizing the design of his next creation. Cameron is thorough, diligent and seeks perfection in every task.

He doesn't do these home improvements only for himself. Cameron has often been found working around the home of
his future in-laws. I can't remember how many times I asked my friend, Where did this come from? or How did you do
that? Oh, Cam put that up the other day and I didn't even ask him to do that, he just did it. Cameron enjoys being
helpful and useful where he can be and is most certainly dedicatedtothosehe holds most dear, But it doesn't stop
there either. I recently heard that Cam devoted time tojjjjjjjjjjjjjj^^         He is tireless In sharing his talents and
expertise.

Cam's loving ways are also exhibited in his fondness for animals. While at home on the Jersey Shore both Cam and
Lauren volunteered at                                 Not just at home, but during vacation in New Zealand they
volunteered at a refuge for sea animals.

Overall, I find Cameron to be serious, genuine and honest in his day to day life. He is devoted to family, extended family,
friends, his dogs (Rylee and Skylar) and most of all to his fiancee.

Judge Broderick, I understand that Cameron has pleaded guilty to the charges brought against him, but I sincerely hope
that you will take my sentiments into account and show leniency in his sentencing.

I sincerely believe Cam has the ability to accomplish great things and deserves the chance to make his mark on the
world. Kindly afford him the opportunity to resume his career and put his life back on track. And please don't separate
Cam from Lauren. They are two special people only made more special by being together. At a very young age, they
have learned a very hard lesson, one that they will carry with them for the rest of their lives. Please allow them to
remain together and move forward together as husband and wife.

Respectfully,


Sandra Zablocki




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The Honorable Vernon S. Broderick
United States District Judge
United States District Court
Southern District of New York
ThurgoocJ Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Dear Judge Broderick,
I am writing on behalf of Cameron Collins, a trusted and unfailing friend, and someone
I fee! fortunate to have in my life. Cam was one of the first people I met as a freshman
at Villanova University, We hit it off right away, both being engineering students and
having very similar hobbies. Sophomore year we shared a triple and we also lived in
the same apartment complex junior and senior years. We became close friends when
he rallied a small group of us to join him in reestablishing, Sigma Nu, an inactive
fraternity that had years earlier been a community service focused fraternity for
students at Villanova. Cam represented our fraternity in heading up several fund
raising projects for St, Jude’s Danceathon and Treats for Troops. He’s the type of guy
you want to join with and support, because you know whatever he get involved in will
be done right and done well.

One of the big things ! admire about Cam is that he has always been open and
welcoming lo everybody. He looks for the positive in people and situations. I can’t
ever recall him speaking badly or in a judgmental way about anyone. Of our small
group, Cam was unquestionably the most dedicated student, probably because he was
the best at being disciplined when it came to balancing school and social life. Looking
back, I have lo admit, he was actually more mature then most of us and had a bit more
vision and a plan. Even at 19, he would talk about becoming an entrepreneur and
running his own company one day. I think he will do that, and I think he wilt be a terrific
leader and boss.

It’s been nearly a decade since Cam and I met. As someone who is not big on social
media and planning. I lend to not be the greatest at keeping in touch. Cam knovv^s and
accepts that and has often been the one to initiate our getting together on a regular
basis. Now that we are out in the "real world’’ and there is less time and opportunity to
meet and make fiiencfs, I greatly appreciate his perseverance, and add that to the list
of qualities that I really, really value and appreciate about Cam. Your Honor, Cameron
Coilins is one of the nicest, politest, caring people I have ever known. I am grateful to
call him my friend and ! hope this letter helps to convey Just how kindhearted, gentle
natured and devoted a person he is.


Best Regards,

Charles Edward Carey III (Trey)




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